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     IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                     DISTRICT OF MISSISSIPPI
                       SOUTHERN DIVISION


THE STATE OF MISSISSIPPI,
ex rel. LYNN FITCH, in Her
Official Capacity as Attorney General
of the State of Mississippi,

       Plaintiff,

                                                 Civil Action No. 1:20-cv-168-TBM-RPM

THE PEOPLE’S REPUBLIC OF CHINA,
THE COMMUNIST PARTY OF CHINA,
NATIONAL HEALTH COMMISSION OF
THE PEOPLE’S REPUBLIC OF CHINA,
MINISTRY OF EMERGENCY
MANAGEMENT OF THE PEOPLE’S
REPUBLIC OF CHINA, MINISTRY OF
CIVIL AFFAIRS OF THE PEOPLE’S
REPUBLIC OF CHINA, PEOPLE’S
GOVERNMENT OF HUBEI PROVINCE,
PEOPLE’S GOVERNMENT OF WUHAN
 CITY, WUHAN INSTITUTE OF VIROLOGY,
and CHINESE ACADEMY OF SCIENCES,

       Defendants.


                             APPLICATION TO CLERK
                               TO ENTER DEFAULT




To: Arthur Johnston, Clerk of the United States District Court for the
   Southern District of Mississippi
       Please enter default under the provision of Rule 55(a) of the Rules of Civil Procedure

because of the failure of the Defendants People’s Republic of China, People’s Government of


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Hubei Province, People’s Government of Wuhan City, National Health Commission of the

People’s Republic of China, Ministry of Emergency Management of the People’s Republic of

China, and the Ministry of Civil Affairs of the People’s Republic of China to file an answer

or otherwise defend as provided by Fed. R. Civ. P. 55(a).


Respectfully submitted, this the 5th day of March, 2024.


                                           FOR PLAINTIFF STATE OF MISSISSIPPI
                                           LYNN FITCH, ATTORNEY GENERAL
                                           STATE OF MISSISSIPPI

                                            /s/ Elisabeth Hart Martin
                                           Elisabeth Hart Martin, Miss. Bar No. 106129
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